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 1 MICHAEL W. BIEN – 096891                     OREN NIMNI*
   ERNEST GALVAN – 196065                        Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                     AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                Md. Bar No. 2112150205
 3 ROSEN BIEN                                   D DANGARAN*
   GALVAN & GRUNFELD LLP                         Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor              RIGHTS BEHIND BARS
   San Francisco, California 94105-1738         416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                    Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                  Telephone: (202) 455-4399
 6              egalvan@rbgg.com                Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                            amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                     d@rightsbehindbars.org
                                                *
 8 SUSAN M. BEATY – 324048                          Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of         DECLARATION OF J
   themselves and all others similarly situated,          D        IN SUPPORT OF
17               Plaintiffs,
                                                          PLAINTIFFS’ MOTIONS FOR
                                                          PRELIMINARY INJUNCTION
18        v.                                              AND PROVISIONAL CLASS
                                                          CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4316243 2]
      DECLARATION OF J         D         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, J      D         , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs' Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 from June 2021 to present. In the future BOP may transfer me to other BOP facilities but
 7 at any point I could be transferred back to FCI Dublin.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12                 4.     While at FCI Dublin, I experienced sexual harassment by Officer Smith from
13 the Fall of 2021 extending into the beginning of 2022. When I was participating in the
14 Residential Drug Abuse Program (RDAP) at the facility, I worked in the compound
15 collecting trash. Officer Smith would often escort us out to take out the trash which is
16 when he would harass me. He often made sexual comments to me that made me feel
17 disgusting. For example, he would ask me on multiple occasions if I had a girlfriend and if
18 could watch us “fuck” or have sex. He would ask me questions such as, “Who’s your
19 scissor sister?” Once I gagged when taking out the trash and he told me, “I could just
20 imagine what it would feel like for you to gag around me.” I looked at my coworker, and
21 said, “I got to go, I don’t want to be around him.” I remember these comments clearly
22 because they were so vulgar and so stood out to me. I also often caught him looking at my
23 butt or my chest. This made me feel gross and dirty in a really bad way and did not make
24 me feel safe.
25                 5.     I heard Officer Smith making similar comments to other girls including my
26 coworkers. On at least three or four occasions I heard him make comments as me and my
27 two coworkers were taking out the trash, calling us “dirty” and to push the trash in the
28 compactor “harder, how he likes it” and similar comments along those lines. I also saw
     [4316243 2]                                          1
      DECLARATION OF J                 D         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 him looking at other women inappropriately. I heard stories that four years ago he pushed
 2 a girl down the stairs when he got angry and broke her leg. Knowing all this made me feel
 3 like he was not trust-worthy, and I did not feel safe going to him for help or for anything at
 4 all.
 5                 6.   When I arrived at FCI Dublin in June 2021 I was not provided adequate
 6 training and information about how to respond to sexual abuse by officers. I only found
 7 out about PREA through word of mouth from others and it was always considered a joke.
 8 Officers would make jokes such as saying, “it’s not PREA if it is pre-approved” and “it’s
 9 not PREA if you agree-a.” It was also only framed as something that applied between
10 inmates, as in to prevent inmates from having sex with each other or to not have
11 girlfriends.
12                 7.   There is no effective way to confidentially report sexual assault and abuse by
13 staff at FCI Dublin. I did not initially report the harassment by Officer Smith because I
14 was afraid of retaliation. After speaking with counsel in April 2023, I emailed the facility
15 to report the abuse. I specifically directed my message to Officer Ferguson with SIS
16 because I am more comfortable speaking to him than to SIS Lt. Putnum because everyone
17 knows Lt. Putnum brushes everything under the rug and I do not trust him. Officer
18 Ferguson ended up having me speak with SIS Lt. Putnum anyways. When I told him, he
19 told me I can’t talk to anyone about my harassment other than my attorney and him and I
20 felt he was trying to prevent me from speaking out about it to others.
21                 8.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
22 by staff and retaliate against people who do report. I considered making a report, but my
23 coworkers told me not to do it and that if I did I would be the one to end up in trouble. The
24 general understanding that is that you don’t report those things because you’d be retaliated
25 against. I knew this because Officers Ramos and Saucedo, would say, “You guys are just
26 snitches. You know you liked it, but you opened your mouth.” They also said, “Stitches
27 get stitches.” Officers Ramos and Saucedo would target people who report, search their
28 room, and take all their stuff.
     [4316243 2]                                       2
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 1                 9.    Once I did report and began meeting with counsel, I felt targeted. Not long
 2 after a visit with attorneys on May 4 I was called to meet with SIS Lt. Putnum and Officer
 3 Bodezon in a small room where they asked if I was receiving any “shit” from officers. I
 4 did not feel comfortable speaking openly to them and saw at least four other people who
 5 had met with the same counsel I had also get called to the SIS office, leading me to believe
 6 they were targeting people based on the fact we met with attorneys. I kept reaching out to
 7 attorneys because I want things to get better here but it made me very aware that I and
 8 others are being watched and that nothing is confidential.
 9                 10.   This happened again after another visit with attorneys on June 29, 2023. The
10 day after, our Unit Manager Craig called the whole unit to a Town Hall, which is when we
11 have to come out of our rooms and go into the unit all together to hear from staff. Unit
12 Manager Craig had been at the attorney visit the prior day and was visibly upset and said
13 he did not understand why we think we have it so bad and that he has “a lack of empathy”
14 for us because our doors don’t lock so he doesn’t understand why we “complain so much.”
15 The issue was started in part because one person did not want to move cells and for Unit
16 Manager Craig to get so angry, pacing back and forth, it made me feel like he could snap at
17 any time and I did not feel safe. His comments that he did not have empathy for us made
18 me feel like our opinions do not matter and our wants and needs are not relevant to staff.
19                 11.   Lieutenant Jones also has threatened people with retaliation prior to being
20 walked off. Around December of 2022, Lt. Jones held a Town Hall meeting. During this
21 meeting she took the opportunity to threaten us and said, “if you want to write me or my
22 officers up, I will find a reason to get you or put you in SHU or maybe I will just come
23 after your friends.” She told us, “I love to put people in the SHU.”
24                 12.   When incarcerated persons report sexual abuse by staff, FCI Dublin and
25 BOP do not seriously investigate the reports. Investigations are frequently delayed and
26 overseen by staff who know and work with the offending staff member. Generally nothing
27 happens as a result.
28                 13.   There is little to no confidential mental health care available to survivors of
     [4316243 2]                                         3
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 1 sexual abuse and assault at FCI Dublin. People cannot get regular psychologist visits
 2 because there are no psychologists in the unit, all of them left. If there was a psychologist
 3 in the unit I would definitely make use of it, given all the difficult experiences we have
 4 had.
 5                 14.   There is little to no medical care available to survivors of sexual abuse and
 6 assault at FCI Dublin. When I was put in the SHU when I had COVID in July 2022, the
 7 conditions in the SHU were so bad I got a terrible rash that resulted in sores and lasting
 8 marks. I put in four separate sick call requests and did not receive proper treatment or to
 9 see a specialist. Each time I put in a sick call request is costs me two dollars because it is
10 not considered chronic care, even though it is a lasting problem. Because they do not
11 respond to my sick calls, this money adds up. I have been dealing with it for almost a year
12 and nothing has been done. I still struggle with the effects today and my entire body has
13 scars. I also have not been able to get my medical records even though I’ve requested it.
14                 15.   The camera system at FCI Dublin is inadequate. There are some cameras
15 installed in fixed locations in the facility, but it is well known that there are no cameras in
16 the work out rooms and in education. There were only cameras in food service and the
17 lobby of the units until recently. Staff at FCI Dublin have never worn body-worn cameras
18 in the facility.
19                 16.   Coming into prison, I knew conditions were not going to be great, but I
20 wasn’t expecting them to be like this. You hear about prison and what they say about it
21 but when you actually come in and experience this to this magnitude it is astounding. It
22 blows my mind that there could be so much corruption with people in the BOP. I am
23 concerned for the future people that come here. We are still feeling the aftershock of the
24 things that they have done and are constantly in fear of retaliation or that an officer is
25 going to do something inappropriate.
26 / / /
27 / / /
28 / / /
     [4316243 2]                                         4
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                               INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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